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    1                        UNITED STATES OF AMERICA
                           SOUTHERN DISTRICT OF ILLINOIS
    2

    3    CHRISTOPHER NOVUS DAVIS,       )
                                        )
    4                    Plaintiff,     )
         v.                             ) No. 3:13-cv-01260-SMY
    5                                   )
         LUCAS NANNY, TOM NORDMAN, JOSH )
    6    RACKLEY, and TERRY STEWART,    ) Benton, Illinois
                                        )
    7                    Defendants.    )

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   10                   TRANSCRIPT OF JURY TRIAL PROCEEDINGS
                                     DAY 2 OF 2
   11
                        BEFORE THE HONORABLE STACI M. YANDLE
   12                       UNITED STATES DISTRICT JUDGE

   13                            December 10, 2019

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    5         Closing Argument by Ms. McClimans                149:11
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    1             (Proceedings began in open court at 9:00 a.m,

    2    plaintiff present; jury present.)

    3             THE COURT:    Members of the jury, you have seen and

    4    heard all the evidence.     Now I will instruct you on the law,

    5    and then you will hear the arguments of the attorneys.

    6             You have two duties as a jury.      Your first is to

    7    decide the evidence from the evidence in the case.        This is

    8    your job and yours alone.

    9             Your second duty is to apply the law that I give you

   10    to the facts.    You must follow these instructions, even if

   11    you disagree with them.     Each of the instructions is

   12    important, and you must follow all of them.

   13             Perform these duties fairly and impartially.

   14             Nothing I say now, and nothing I said during the

   15    trial, is meant to indicate any opinion on my part about

   16    what the facts are or about what your verdict should be.

   17             During your deliberations, you must not communicate

   18    with or provide any information to anyone by any means about

   19    this case.    You may not use any electronic device or media,

   20    such as a telephone, cell phone, smart phone, iPhone,

   21    Blackberry or computer; the internet, any internet service,

   22    or any text or instant messaging service; or any internet

   23    chat room, blog, or website such as Facebook, MySpace,

   24    LinkedIn, YouTube, or Twitter, to communicate to anyone any

   25    information about this case or to conduct any research about




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    1    this case until I accept your verdict.

    2               I do not accept that you will need to communicate

    3    with me.    If you do need to communicate with me, the only

    4    proper way is in writing.     The writing must be signed by the

    5    presiding juror, or, if he or she is unwilling to do so, by

    6    some other juror.     The writing should be given to the

    7    marshal, who will give it to me.      I will respond either in

    8    writing or by having you return to the courtroom so that I

    9    can respond orally.

   10               If you do communicate with me, you should not

   11    indicate in your note what your numerical division is, if

   12    any.

   13               The evidence consists of the testimony of the

   14    witnesses, the exhibits admitted in evidence and

   15    stipulations.

   16               A stipulation is an agreement between both sides

   17    that certain facts are true.

   18               Certain things are not to be considered as evidence.

   19    I will list them for you:

   20               First, if I told you to disregard any testimony or

   21    exhibits or struck any testimony or exhibits from the

   22    record, such testimony or exhibits are not evidence and must

   23    not be considered.

   24               Second, anything you may have seen or heard outside

   25    the courtroom is not evidence and must be entirely




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    1    disregarded.

    2               Third, questions and objections or comments by the

    3    lawyers are not evidence.     Lawyers have a duty to object

    4    when they believe a question is improper.       You should not be

    5    influenced by any objection, and you should not infer from

    6    my rulings that I have any view as to how you should decide

    7    this case.

    8               Fourth, the lawyers' opening statements and closing

    9    arguments to you are not evidence.      Their purpose is to

   10    discuss the issues and the evidence.       If the evidence as you

   11    remember it differs from what the lawyers say, your memory

   12    is what counts.

   13               Any notes you have taken during this trial are only

   14    aids to your memory.     The notes are not evidence.     If you

   15    have not taken notes, you should rely on your independent

   16    recollection of the evidence and not be unduly influenced by

   17    the notes of other jurors.     Notes are not entitled to any

   18    greater weight than the recollections or impressions of each

   19    juror about the testimony.

   20               You should use common sense in weighing the evidence

   21    and consider the evidence in light of your own observations

   22    in life.

   23               In our lives, we often look at one fact and conclude

   24    from it that another fact exists.      In law, we call this

   25    inference.     A jury is allowed to make reasonable inferences.




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    1    Any inference you make must be reasonable and must be based

    2    on the evidence in the case.

    3             You may have heard phrases like "direct evidence"

    4    and "circumstantial evidence."      Direct evidence is proof

    5    that does not require an inference, such as the testimony of

    6    someone who claims to have personal knowledge of a fact.

    7    Circumstantial evidence is proof of a fact, or a series of

    8    facts, that tends to show that some other fact is true.

    9             As an example, direct evidence that it is raining is

   10    testimony from a witness who says, "I was outside a minute

   11    ago and I saw it raining."     Circumstantial evidence that it

   12    is raining is the observation of someone entering a room

   13    carrying an umbrella.

   14             The law makes no distinction between the weight to

   15    be given to either direct or circumstantial evidence.         You

   16    should decide how much weight to be given to any evidence.

   17    In reaching your verdict, you should consider all of the

   18    evidence in the case, including circumstantial evidence.

   19             You must decide whether the testimony of each of the

   20    witnesses is truthful and accurate, in part, in whole, or

   21    not at all.     You must also decide what weight, if any, to

   22    give to the testimony of each witness.

   23             In evaluating the testimony of any witness,

   24    including any party to the case, you may consider, among

   25    other things:




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    1               The ability and opportunity the witness had to see,

    2    hear, or know the things that the witness testified about;

    3               The witness's memory;

    4               Any interest, bias or prejudice the witness may

    5    have;

    6               The witness's intelligence;

    7               The manner of the witness while testifying; and

    8               The reasonableness of the witness's testimony in

    9    light of all the evidence in the case.

   10               The law does not require any party to call as a

   11    witness every person who might have knowledge of the facts

   12    related to this trial.     Similarly, the law does not require

   13    any party to present as exhibits all papers and things

   14    mentioned during this trial.

   15               The defendants in this case, Lucas Nanny, Tom

   16    Nordman, Joshua Rackley, and Terry Stewart, have been found

   17    liable for the use of excessive force against the plaintiff,

   18    Christopher Davis, and for failure to intervene to stop or

   19    prevent the use of excessive force against the plaintiff,

   20    Christopher Davis, so that is not an issue you will need to

   21    decide.

   22               When I say a particular party must prove something

   23    by a preponderance of the evidence, or when I use the

   24    expression "if you find," or "if you decide," this is what I

   25    mean:     When you have considered all the evidence in the




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    1    case, you must be persuaded that it is more probably true

    2    than not true.

    3              In determining whether any fact has been proved, you

    4    should consider all of the evidence bearing on the question

    5    regardless of who introduced it.

    6              The parties have stipulated or agreed to the

    7    following facts:

    8              1.   On December 26, 2011, plaintiff, Christopher

    9    Davis, was a resident at Chester Mental Health Center,

   10    operated by the Illinois Department of Human Services.

   11              2.   On December 26, 2011, defendants were employed

   12    by the Illinois Department of Human Services and assigned to

   13    Chester Mental Health Center.

   14              3.   On December 26, 2011, defendants were on duty as

   15    Security Therapy Aides, or STAs, at Chester Mental Health

   16    Center.

   17              4.   The Court has previously determined that each of

   18    the four defendants used excessive force towards Christopher

   19    Davis and failed to intervene in the use of excessive force

   20    towards Christopher Davis December 26, 2011.

   21              5.   Christopher Davis experienced subconjunctival

   22    hemorrhaging following the use of excessive force by the

   23    defendants.

   24              You must now treat these facts as having been proved

   25    for the purposes of this case.




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    1              If you find that plaintiff sustained an injury or

    2     injuries as a direct result of defendants' excessive force

    3     and/or failure to intervene, then you must award

    4     compensatory damages and determine what amount will fairly

    5     compensate him for each injury.

    6              Plaintiff must prove his damages by a preponderance

    7     of the evidence.     Your award must be based on evidence, not

    8     speculation or guesswork.     This does not mean, however, that

    9     compensatory damages are restricted to the actual loss of

   10     money; they include both the physical and mental aspects of

   11     the injury, even if they are not easy to measure.

   12              You should consider the following types of

   13     compensatory damages, and no other:      The physical and

   14     mental/emotional pain and suffering that plaintiff has

   15     experienced.     No evidence of the dollar value of physical

   16     and mental/emotional pain and suffering has been or needs to

   17     be introduced.     There is no exact standard for setting the

   18     damages to be awarded on account of pain and suffering.        You

   19     are to determine an amount that will fairly compensate

   20     plaintiff for the harm that he has sustained.

   21              If you find that plaintiff sustained no injury as a

   22     direct result of defendants' excessive force and/or failure

   23     to intervene, or if you find that plaintiff's injuries have

   24     no monetary value, then you must award nominal damages of

   25     one dollar for the constitutional violation.




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    1              You may, but are not required to, assess punitive

    2     damages against each defendant.     The purposes of punitive

    3     damages are to punish a defendant for his or her conduct and

    4     to serve as an example or warning to defendants and others

    5     not to engage in similar conduct in the future.

    6              Plaintiff must prove by a preponderance of the

    7     evidence that punitive damages should be assessed against

    8     one or more defendant.    You may assess punitive damages only

    9     if you find that a defendant's conduct was malicious or in

   10     reckless disregard of plaintiff's rights.       Conduct is

   11     malicious if it is accompanied by ill will or spite, or is

   12     done for the purpose of injuring plaintiff.       Conduct is

   13     reckless -- I'm sorry.    Conduct is in reckless disregard of

   14     plaintiff's rights if, under the circumstances, one or more

   15     defendant simply did not care about plaintiff's safety.

   16              If you find that punitive damages are appropriate,

   17     then you must use sound reason in setting the amount of

   18     those damages.    Punitive damages, if any, should be in an

   19     amount sufficient to fulfill the purposes that I have

   20     described to you, but should not reflect bias, prejudice, or

   21     sympathy toward any party.     In determining the amount of any

   22     punitive damages, you should consider the following factors:

   23              The reprehensibility of defendants' conduct;

   24              The impact of defendants' conduct on plaintiff;

   25              The relationship between plaintiff and defendants;




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    1                The likelihood that defendants would repeat the

    2     conduct if an award of punitive damages is not made; and

    3                The relationship of any award of punitive damages to

    4     the amount of actual harm the plaintiff suffered.

    5                Upon retiring to the jury room, you must select a

    6     presiding juror.     The presiding juror will preside over your

    7     deliberations and will be your representative here in court.

    8                Forms of verdict have been prepared for you.

    9                Take these forms to the jury room, and when you have

   10     reached unanimous agreement on the verdict, your presiding

   11     juror will fill in the appropriate form, and all of you will

   12     sign it.

   13                The verdict must represent the considered judgment

   14     of each juror.     Your verdict, whether for or against the

   15     parties, must be unanimous.

   16                You should make every reasonable effort to reach a

   17     verdict.    In doing so, you should consult with one another,

   18     express your own views, and listen to the opinions of your

   19     fellow jurors.     Discuss your differences with an open mind.

   20     Do not hesitate to reexamine your own views and change your

   21     opinion if you come to believe it is wrong.       But you should

   22     not surrender your honest beliefs about the weight or effect

   23     of the evidence solely because of the opinions of other

   24     jurors or for the purpose of returning a unanimous verdict.

   25                All of you should give fair and equal consideration




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    1     to all the evidence and deliberate with the goal of reaching

    2     an agreement that is consistent with the individual judgment

    3     of each juror.     You are the impartial judges of the facts.

    4              And with that, we will proceed with closing

    5     arguments on behalf of the plaintiff.

    6              MR. SPIRA:    "We're going to show how we do it down

    7     here at Chester.     Sit down, you retarded motherfucker.     I'm

    8     going to kill you."

    9              Christopher Davis was a mental health patient with

   10     his hands cuffed behind his back.      He was pulled to the

   11     ground, punched, strangled, and kneed in the face.        That's

   12     how a 20-year-old kid was welcomed to Chester.

   13              Ladies and gentlemen, there has already been a

   14     determination in this case that the four defendants used

   15     excessive force towards Christopher Davis, and they failed

   16     to intervene during the use of excessive force by others.

   17              Now, shown here is one of the instructions that

   18     Judge Yandle just gave you a moment ago, that you'll receive

   19     when you go back to deliberate.     And you can see in the

   20     highlighted portion that it says, "The Court has previously

   21     determined that each of the four defendants used excessive

   22     force towards Christopher Davis and failed to intervene in

   23     the use of excessive force towards Christopher Davis on

   24     December 26, 2011."     And that, "You must now treat these

   25     facts as having been proved for the purpose of this case."




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    1              Now, what this means is that the only question for

    2     you to decide here today is the amount of damages that

    3     should be awarded to Chris.

    4              You heard Chris take the stand yesterday and he

    5     described the attack that happened on December 26, the

    6     circumstances of how it happened, and what the defendants

    7     said to him before and during the attack.

    8              You heard that on December 26, a few days after

    9     Chris had arrived at Chester, he stood up in the dining hall

   10     because he had forgotten to get a carton of milk.        He was

   11     yelled at to sit back down and he was called retarded.

   12              Defendants told Chris to stand back up, put his

   13     hands behind his back, and they put him in handcuffs.

   14     Defendants Terry Stewart and Tom Nordman manhandled Chris,

   15     jerking him back and forth, spewing racial slurs and

   16     threats, telling him that they were going to show him how

   17     they do it at Chester.

   18              You heard the evidence that when they entered the

   19     stem, Mr. Stewart put Chris in a chokehold and yanked him to

   20     the floor.   Mr. Nanny began choking Chris, telling him he

   21     was going to kill him.    Chris was turned over and Mr.

   22     Rackley kneed him in the face.     Standing behind Chris, Mr.

   23     Nordman continued punching him.

   24              The four defendants continued beating Chris for what

   25     he told you felt like a lifetime.      During this entire time,




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    1     Chris was handcuffed, unable to protect himself or block his

    2     face or his throat.

    3                When Chris was taken into the restraint room, he was

    4     thrown on the bed, again choked by Mr. Nanny, before being

    5     left there for hours, eyes bloodied, lying in pain and

    6     crying in the bed.

    7                That is how they do it at Chester.

    8                Chris described the physical pain he was in during

    9     this attack.    His face hurt.   His whole body hurt.      He felt

   10     like he couldn't breathe.     But even beyond the physical pain

   11     that Chris felt from this attack was the emotional pain.          He

   12     has had trouble sleeping.     He gets scared around authority

   13     figures.    He has sought mental health treatment and

   14     described these same events to a treater.

   15                You also heard the testimony from Dr. Tariq, a

   16     medical doctor at Chester who examined Chris the day he got

   17     to Chester and then again a few days later, after this

   18     attack happened.     Chris had no injuries when he arrived;

   19     that's what Dr. Tariq told.

   20                Four days later, after the attack, Dr. Tariq

   21     confirmed Chris's physical injuries.      He told you that he

   22     had observed conjunctival redness in both of Chris's eyes.

   23     He told you that there was tenderness and swelling around

   24     Chris's eyes, swelling of the wrists and swelling behind the

   25     left ear.    He observed physical evidence.     He stated that




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    1     physical evidence was present of abuse by the staff.

    2              Dr. Tariq took the stand yesterday and he told you,

    3     ladies and gentlemen, that his physical findings

    4     substantiated Chris's reports of abuse.

    5              You also heard a moment ago that the parties agreed

    6     that Chris experienced subconjunctival hemorrhaging

    7     following the use of excessive force by the defendants.

    8     That's that same bleeding in the eyes that Dr. Tariq told us

    9     about, and that you saw pictures of.      Again, this means that

   10     you can accept that as a fact.     That's not in dispute.

   11              Now, the defendants also had an opportunity to

   12     question Chris and Dr. Tariq, but that, that questioning did

   13     not refute Chris's and Dr. Tariq's testimony.       You did not

   14     hear any explanation from defense counsel for defendants'

   15     derogatory statements to Chris.     You didn't hear any

   16     explanation why they pulled him to the floor, why they put

   17     their hands around his neck, why they kneed and punched him,

   18     or why he was tied in restraints for hours.

   19              You didn't hear any explanation why Defendant

   20     Rackley closed this door, blocking the camera into the stem

   21     where Chris was attacked.

   22              (Video playing.)

   23              Ladies and gentlemen, why is one door suddenly

   24     closed, blocking our view into the stem moments before this

   25     attack happened?    What is it that defendants are trying to




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    1     hide?    As the jury, you can answer that question here today.

    2               You also didn't hear an explanation why a dozen

    3     staff followed Chris into a restraint room, after he had

    4     been attacked and remained in handcuffs.

    5               (Video playing.)

    6               Think about what you just saw there.     Chris had his

    7     hands cuffed behind his back and a dozen Chester staff,

    8     including the four defendants in this case, took him into a

    9     room where he was about to be tied down to a bed for hours.

   10               Rather than refuting Chris's or Dr. Tariq's

   11     testimony, defense counsel's primary argument seems to be

   12     that the attack or the use of excessive force wasn't that

   13     bad.    The bleeding, the swelling, the tenderness didn't last

   14     that long.

   15               When defendants called Chris a retarded motherfucker

   16     and told him that they were going to kill him, those words

   17     didn't cause any physical harm.

   18               You heard defense counsel ask Chris whether Mr.

   19     Rackley only kneed you in the face.      He didn't do anything

   20     else, right?

   21               Defense counsel asked Chris to confirm that when he

   22     had his right hand, his left hand, his right ankle and his

   23     left ankle tied down to a bed for hours in leather straps,

   24     well, he could still move his head and his neck.       It can't

   25     be that bad.




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    1              Ladies and gentlemen, this attack wasn't that bad?

    2     Any amount of punching, choking, kneeing in the face or

    3     cursing is unacceptable, particularly in a mental health

    4     facility.   When Chris arrived at Chester in 2011, he did not

    5     check his rights at the door.     He had been there for four

    6     days.   They were the Security Therapy Aides.      Their job was

    7     to protect him.    They were supposed to be the adults in the

    8     room and they were supposed to keep him safe.

    9              They want you to believe this wasn't that bad.        Any

   10     physical or emotional abuse is bad enough.

   11              Now, Judge Yandle has provided you with a set of

   12     instructions to follow in deciding the outcome of this case.

   13     And as we have discussed, one of those instructions will

   14     remind you that the Court has previously determined that

   15     each of the four defendants used excessive force towards

   16     Chris Davis and they failed to intervene during that use of

   17     force, and that you must accept those facts as having been

   18     proved for the purpose of this case.      So again, the only

   19     issue left for you to decide is the measure of damages to

   20     give to Chris.

   21              Now, there are two categories of damages that Chris

   22     is asking you to award in this case, and I want to walk

   23     through what each of those are.     The first category is

   24     what's referred to as compensatory damages.       Again, this is

   25     an instruction that Judge Yandle has given you and that you




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    1     will receive when you go back to deliberate.       Compensatory

    2     are just what they sound like, they are meant to compensate

    3     Chris both for the physical and the mental and emotional

    4     pain that he endured.

    5              Now, defense counsel may get up here and try to

    6     argue that Chris's injuries don't have monetary value.        But

    7     you have heard the undisputed evidence about the physical

    8     pain that Chris was in from this attack.       After the attack,

    9     his eyes were bloody, his face was swollen and tender, he

   10     had bruises on his face.     Dr. Tariq told you he had

   11     conjunctival redness, swelling and tenderness.       Defendants

   12     agree that Chris had subconjunctival hemorrhaging.        Chris's

   13     injuries, his physical injuries here, are undisputed.

   14              But, ladies and gentlemen, compensatory damages are

   15     not only about physical harm.     More impactful than the

   16     physical injuries was the emotional harm that Chris talked

   17     to you about.   He told you how he has had trouble sleeping.

   18     He's had nightmares and flashbacks to the attack.        Anytime

   19     an authority figure approaches him, he gets scared, his mind

   20     goes back to this attack; he relives it all over again.

   21     Chris has sought mental health treatment following this

   22     attack, and described these same events and these same

   23     symptoms to his therapist.     Chris has been suffering from

   24     this attack for almost eight years.

   25              Now, there is no exact standard for setting the




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    1     amount of money to be awarded on account of physical and

    2     mental pain and suffering.     Judge Yandle has instructed you

    3     on the same thing.    But when you are deliberating, keep in

    4     mind the physical harm that Chris has endured, and keep in

    5     mind the emotional injuries he suffered on his fourth day in

    6     a mental health facility at the hands of the people who were

    7     there to protect him.

    8              Now, Chris is asking you to you compensate him for

    9     those physical and emotional injuries in the amount of

   10     75,000 per defendant.    So, that's 300,000 in compensatory

   11     that he is asking for today.     We believe that this amount

   12     will fairly compensate Chris for the physical and the

   13     emotional pain and suffering that he endured.

   14              Now, I mentioned a moment ago that there are two

   15     categories of damages that you are going to need to consider

   16     when you go back to deliberate.     The first one is the

   17     compensatory damages to compensate Chris for the physical

   18     and emotional pain and suffering.      The second category is

   19     what's referred to as punitive damages.      And punitive

   20     essentially means to punish.

   21              Judge Yandle has explained to you that "the purpose

   22     of punitive damages are to punish a defendant for his or her

   23     conduct and to serve as an example or warning to defendants

   24     and others not to engage in similar conduct in the future."

   25              Now, in assessing punitive damages, you should




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    1     consider whether the defendants' actions were malicious or

    2     in reckless disregard of Chris's rights.       In other words,

    3     you should award punitive damages as is shown in this

    4     instruction if defendants exhibited ill will or spite, acted

    5     with the purpose of injuring Chris, or simply did not care

    6     about his safety.

    7              Now, in deciding punitive damages, all you have to

    8     determine is that it is more likely true than not true that

    9     this test has been met, that defendants acted maliciously or

   10     with ill will or didn't care about Chris's safety.        This is

   11     not a criminal trial with a beyond a reasonable doubt

   12     standard.   It's more likely true than not true.      You can

   13     imagine scales.     And all you have to find to award punitive

   14     damages is that it tips ever so slightly in favor of this

   15     being malicious, ill will or spite, and that they didn't

   16     care of Chris's safety.     Just the slightest move and you

   17     should award punitive damages.     That's the standard in this

   18     case, in this civil case.

   19              So, let's review the punitive damages evidence that

   20     you have seen, the evidence that their conduct was malicious

   21     and meets the standard, that they didn't care about Chris's

   22     safety or acted with reckless disregard.

   23              You heard about the derogatory statements the

   24     defendants made to Chris before and during this attack, that

   25     they were going to show him how they do it at Chester, that




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    1     they were going to kill him.     You heard that defendants

    2     choked, kneed, and punched Chris for what he told you felt

    3     like a lifetime.     You heard that they tied him down to a bed

    4     in leather restraints.     And you heard that they closed our

    5     view of the stem moments before this attack happened.

    6              Ladies and gentlemen, there is nothing on the other

    7     side of the scale.     None of this has been refuted.     You, as

    8     the jury, can decide that each of those pieces of evidence

    9     show that defendants acted maliciously and recklessly, that

   10     their statements and their actions showed ill will and

   11     spite, that they acted for the purpose of injuring Chris,

   12     and that they simply did not care about Chris's safety.

   13              As you consider the evidence and award punitive

   14     damages today, remember what Chris told you he hopes to gain

   15     from this case.     He does not want this kind of thing to

   16     happen to anyone else, ever again.

   17              No patient at Chester, no patient at any mental

   18     health facility, should be subjected to this kind of abuse

   19     of power from the security aides who are supposed to protect

   20     the patients, not abuse them.

   21              Now, you should award the amounts that you believe

   22     will hold to serve these defendants accountable for their

   23     disregard of Chris's safety and the amount that will serve

   24     as an example.     By writing down a number for punitive

   25     damages on your verdict form today --




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    1                THE CLERK:   Three.

    2                MR. SPIRA:   -- you can stop the way they do it at

    3     Chester.

    4                Ladies and gentlemen, I want to thank you again on

    5     behalf of myself and my team and on behalf of Chris, for

    6     considering his case and for being here the past couple

    7     days.   In a few moments, when defense counsel stands up here

    8     and argues to you that this attack wasn't that bad, I want

    9     you to just remember, any abuse is bad enough.

   10                Thank you.

   11                MS. McCLIMANS:    Thank you.

   12                Good morning.    Plaintiff wants you to believe that

   13     an attack happened at Chester Mental Health Center.         We

   14     don't believe that happened.       It's up to you to decide what

   15     actually happened and whether or not any injuries are

   16     attributable to the excessive use of force.

   17                Now, in looking at the plaintiff's testimony, let's

   18     take it step by step.       Plaintiff was in the dining hall.

   19     Plaintiff testified that the defendants made derogatory

   20     comments to him.    Plaintiff admitted to you that those

   21     derogatory comments did not cause him any pain.        Plaintiff

   22     then was taken and he was handcuffed.        Up to this point,

   23     plaintiff was not injured at all.

   24                Plaintiff goes into the stem.     He has Terry Stewart

   25     and Tom Nordman both by his sides.        He is taken into the




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    1     stem area.     Plaintiff testified about this video.       He

    2     admitted to you, he doesn't know why that door was shut.                He

    3     has no idea what was said to the guy vacuuming.        There is no

    4     evidence whatsoever that the door was shut to prevent or --

    5     to prevent anyone from seeing anything.       That is an

    6     inference on plaintiff's part.     Please do not infer that

    7     that was there.     There is no idea, there is no reason to

    8     believe that.

    9                So, we get into the stem area.     There is Terry

   10     Stewart on one side, Tom Nordman on the other side.

   11     Plaintiff testified that one of the men pulled him down.

   12     Plaintiff admitted to you that he actually then landed on

   13     Terry Stewart, sitting at the table there.

   14                After he landed on Terry Stewart, then supposedly

   15     Luke Nanny then jumped on top of all of them and started

   16     strangling or choking plaintiff.      And this is important to

   17     point out.     It was plaintiff's testimony that he was -- that

   18     Lucas Nanny was choking him while he was on top of Mr.

   19     Stewart.     So, we have Mr. Stewart, we have plaintiff, and

   20     then we have Lucas Nanny supposedly choking plaintiff.             It

   21     was the plaintiff's counsel that said strangling.          Plaintiff

   22     never said strangling.     He said choking.

   23                Eventually, you hear about Josh Rackley.      Up to now,

   24     plaintiff admitted that, before that fall, there were no

   25     major injuries.     There were no injuries whatsoever.          So, we




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    1     have Terry Stewart involved.     We have Tom Nordman involved.

    2     And then Lucas Nanny gets involved.      And Lucas Nanny is

    3     supposedly on top of the two, choking plaintiff.

    4              After that happens, we hear about Josh Rackley

    5     coming up, running.    He has not even been on the scene yet.

    6     He didn't take part in any derogatory language whatsoever.

    7     There's no evidence that, that he said anything or even knew

    8     about what was going on.     He came up to help.    He came up

    9     because plaintiff had to be brought to his knees so that he

   10     could get taken into the next room.

   11              Before this happened, before plaintiff was brought

   12     to the floor, plaintiff was going to go back to his housing

   13     unit.   But after this happened, now we know and plaintiff

   14     testified, he's going to the restraint room.

   15              So, Josh Rackley comes up, runs up.       Plaintiff

   16     testified that Josh Rackley jump kneed him in the face.

   17     Three hundred pounds, jump kneeing him in the face.        It

   18     doesn't make sense.    Because it didn't happen.     It's up to

   19     you to assess credibility here.     It didn't happen.

   20              Plaintiff is brought up to his feet.       Plaintiff is

   21     walked to the area where he is put into the restraint room.

   22     All these other people go into that room because plaintiff

   23     has to have his handcuffs taken off; plaintiff has to be

   24     restrained onto the bed.

   25              Plaintiff also testified that someone eventually




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    1     came into the room and told you, You can get out of these

    2     restraints as soon as you calm down .

    3              So, it's your job here today to tell us what

    4     injuries actually were caused by the excessive use of force.

    5     It's your job to determine the credibility of the plaintiff

    6     here today.

    7              Out of all the injuries that plaintiff talked about,

    8     the choking, the inference of the strangling, the kicking,

    9     the punching, these are the injuries to the plaintiff that

   10     were seen four hours after he was released from that --

   11     after the incident occurred, after he was placed in the

   12     restraints.   These are the injuries.

   13              And they talk about Dr. Tariq, telling you about

   14     what those injuries are?     Well, Dr. Tariq also told you, he

   15     doesn't know what caused those injuries.       It was positive

   16     for abuse based upon what the plaintiff told him.        Dr. Tariq

   17     didn't receive any indication from the plaintiff that his

   18     neck hurt, that there was any choking to his neck.        There is

   19     no evidence whatsoever that anything happened to his neck.

   20     There is no evidence whatsoever that he was punched anywhere

   21     in the stomach or the back, that his ankles were twisted, or

   22     that his torso was hurt in any way.

   23              Dr. Tariq told you about periorbital tenderness.        He

   24     told you about the subconjunctival hemorrhage to the eyes.

   25     That was noticed, according to the plaintiff, after he




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    1     walked back to his housing unit, after someone told him

    2     that, Oh, you should go look at your eyes.       Four hours after

    3     the incident occurred is when anyone noticed that anything

    4     was wrong with the eyes.

    5                Now, let's talk about what happened in the actual

    6     room, when he was strapped down.      He said he cried.    He was

    7     able to move his head.     He was strapped down.     He was told

    8     that, As soon as you are quiet, you can get up and go.           He

    9     admitted to you that a nurse came in that room.        A nurse

   10     took his vitals.     A nurse was able to look at his face.

   11     That nurse isn't here to testify for the plaintiff that

   12     there were any injuries present when he was still in that

   13     room.   Again, no one notices any injuries at all to the

   14     plaintiff until he walks out of that room.

   15                I want you to take a good look at that picture, then

   16     look at plaintiff.     They look very similar.     Any swelling,

   17     as far as plaintiff even admitted, it was minor swelling.

   18     The doctor said he received a complaint of minor swelling to

   19     the wrist.    That could have been from the handcuffs, a

   20     normal use of force.     Nothing else is really shown on the

   21     picture.

   22                Dr. Tariq testified that there was some swelling

   23     behind the ear.    Plaintiff didn't even testify that he was

   24     hit behind the ear.

   25                Plaintiff also wants you to believe that he's had




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    1     emotional injuries from this attack.        Plaintiff wants you to

    2     believe that he has nightmares, that he can't sleep at

    3     night.     Plaintiff admitted to you that he didn't even see a

    4     mental health provider about this until 2019, almost eight

    5     years after this happened.     Again, it's up to you to judge

    6     the credibility of the plaintiff here.

    7                Now, I want to go back to Dr. Tariq.     Dr. Tariq

    8     recommended Tylenol.     Dr. Tariq recommended X-rays.      No one

    9     was here to tell you that the X-rays were positive because

   10     they weren't.     The X-rays were normal.     Dr. Tariq also told

   11     the plaintiff, Come back and see me, if you need to.

   12     There's no evidence that he came back to see him.        This was

   13     something that happened.     This was a minor incident.

   14                It's up to you, again, to judge the credibility of

   15     the plaintiff.     He told you about this vicious attack.       It

   16     just doesn't add up.     It's not present.     The injuries are

   17     not there.

   18                Let's talk about each of the defendants just

   19     briefly.     Again, Terry Stewart, Tom Nordman, were both in

   20     the dining hall.     They said some derogatory comments.

   21     Plaintiff admitted it didn't cause him harm at all.

   22                He was cuffed.   Terry Stewart, Tom Nordman took him

   23     out of the dining hall.     Again, he admitted, comments were

   24     made.    Up to that point, he was being moved back and forth,

   25     side to side.     He admitted, no injuries were -- occurred




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    1     because of that.     None whatsoever.

    2              Then he wants you to believe that someone pulled him

    3     down on top of somebody else.     A 300-pound man landed on a

    4     smaller man.     And then Lucas Nanny came up and started

    5     strangling him or choking him.     Again, he didn't complain

    6     about any injuries to his neck.     Didn't complain that he

    7     suffered any injuries in that area whatsoever.

    8              Again, someone's running up, and that becomes Josh

    9     Rackley, who wasn't a part of any of this before, had no

   10     idea what was going on.     He picks up -- or helps pick up the

   11     plaintiff.     I want you to infer that he did help pick up the

   12     plaintiff because plaintiff was handcuffed.       Plaintiff had

   13     to be brought back to his feet.     Plaintiff had to be walked

   14     to the next place, which was then the restraint room.

   15              All those people went in the room.      Plaintiff could

   16     have had them come testify for him, too, but he did not.

   17     Plaintiff said there were witnesses to this attack, but he

   18     has nobody else to testify here except for Dr. Tariq.

   19              Dr. Tariq was not a witness to the attack, and told

   20     you that the only reason he substantiated the attack was

   21     based upon what the plaintiff told him.

   22              You were shown the stipulations several times.

   23     Again, in looking at No. 5, I just want to point out to you,

   24     Christopher Davis experienced subconjunctival hemorrhaging

   25     following the use of excessive force by the defendants.        It




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    1     doesn't say the defendants caused it.      It doesn't say that

    2     at all.     Plaintiffs would like you to infer it, but it

    3     doesn't say it.

    4                Again, if you look at what he's alleging, what he's

    5     saying happened, and what the evidence actually shows, if

    6     someone kneed -- if a 250-plus pound man kneed you in the

    7     face, it's going to show more than slight swelling.        It

    8     didn't happen.

    9                We're going to ask that you find in favor of the

   10     defendants.     It's up to you to find the amount of, of an

   11     award.     Plaintiff has no compensable damages.    We're going

   12     to ask that you award one dollar and no punitive damages,

   13     because punitive damages are not evident here.

   14                Thank you.

   15                MR. SPIRA:   Ladies and gentlemen, you just heard

   16     defense counsel get up here and say this didn't happen.

   17     It's already been decided.     The defendants used excessive

   18     force against Chris Davis and failed to intervene.        That is

   19     not an issue for you to decide.     That has been decided

   20     already.

   21                They want to suggest, oh, well, that he had injuries

   22     after the incident but not from the incident?       He didn't

   23     have any injuries before.     Dr. Tariq testified to that.      He

   24     had no injuries when he arrived.      Chris testified to that.

   25     Dr. Tariq testified to that.     Then he was attacked.     There




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    1     was a finding of excessive force and failure to intervene.

    2     That's a fact.     Afterwards, he had injuries.

    3                A doctor, a medical doctor has testified that he had

    4     redness -- he had conjunctival hemorrhaging; he had

    5     swelling; he had tenderness; he had a big knot behind his

    6     left ear.     It doesn't take a rocket scientist to figure out

    7     that this happened from the attack.        There's no other

    8     explanation.     They've never offered you any other

    9     explanation for any of the injuries.        It didn't happen?

   10     It's not even in dispute.     Of course it happened.

   11                Defense counsel got up here again and repeated that,

   12     Oh, well, those derogatory statements that you heard?           She

   13     didn't refute that they were said.        She said they didn't

   14     cause physical harm.     But ask yourself, Is it appropriate

   15     for the Security Therapy Aides to be making those kind of

   16     statements to a mental health patient, let alone a

   17     20-year-old on his fourth day there?       We believe that goes

   18     directly to the issue of malice, their ill will, their

   19     intent.     The fact that they didn't care about his safety.

   20                Defense counsel also said, Oh, it was four hours

   21     until someone noticed his injuries.       That's because he was

   22     lying in a restraint room, tied down to a bed.        He wasn't --

   23     he wasn't like walking around in a community, going about

   24     his day.     He was tied down and told to be quiet until they'd

   25     let him out.     Again, not in dispute.     No one disputes that




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    1     he was in that restraint room, that the defendants tied him

    2     down to a bed for hours.

    3              Defense counsel asks you to award one dollar in this

    4     case.   The constitutional violations have been decided.

    5     They used excessive force.      They failed to intervene.    That

    6     is not in dispute.    They are asking you to let that slide

    7     and to find that constitutional violations by Security

    8     Therapy Aides towards a mental health patient have no value.

    9     That's what they're asking you to do today.

   10              Now, I have to correct something.      I don't know how

   11     long defense counsel has known Mr. Stewart, but he was not a

   12     smaller man than Chris Davis at the time of this attack.

   13              If we could pull up that video one more time?

   14              We're going to pause it on what Terry Stewart looked

   15     like in 2011.

   16              (Video playing.)

   17              Pause it there.

   18              That's Terry Stewart at the bottom of the screen.

   19     That's a smaller man?    Again, I don't know if defense

   20     counsel knew that or not, but it's just -- it's just not

   21     true.   That's Terry Stewart.

   22              Ladies and gentlemen, there has been no other

   23     explanation for any of Chris's injuries.       Chris testified to

   24     them.   Dr. Tariq testified to them.     Dr. Tariq noted

   25     physical evidence of abuse by the staff.       He sat there and




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    1     he told you that Chris's injuries were substantiated by his

    2     findings.

    3              Counsel didn't touch on Chris's emotional harm.

    4     Chris didn't say that he never sought mental health

    5     treatment until nine years later.      He said he sought mental

    6     health treatment at two facilities, and defense counsel

    7     asked him about one of them.     He did not say that he never

    8     received mental health treatment following this incident for

    9     nine years.

   10              And it is not in evidence -- there is no evidence

   11     that X-rays don't exist or that there were negative

   12     findings.     Defense counsel telling you that is not evidence.

   13     That -- there is no evidence of what those X-rays showed.

   14              Ladies and gentlemen, this attack happened.       That is

   15     not in dispute.     There was excessive force.    There was a

   16     failure to intervene.     Each of the four defendants are

   17     liable for that.

   18              This should not -- this happened and it should not

   19     have happened.     Any abuse is bad enough.

   20              Thank you.

   21              THE COURT:    All right.   Ladies and gentlemen, you

   22     have now heard the evidence and the closing arguments from

   23     the parties.     You will now be retiring to the jury room to

   24     begin your deliberations.

   25              Once the marshal is sworn in, he will lead you back




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    1     into the jury room.     Miss Hurst will then come back and

    2     instruct you on how to use the equipment back there, and

    3     then it's all in your ballpark.

    4               (CSO sworn by clerk.)

    5               (Jury out to deliberate at 9:49 a.m.)

    6               (Court recessed from 9:49 a.m. to 10:36 a.m.)

    7               (Notification of verdict from jury at 10:36 a.m.)

    8               (Proceedings continued in open court, plaintiff

    9     present; jury not present.)

   10               THE COURT:    While they're bringing in the jurors,

   11     let me just remind and ask everyone in the courtroom, there

   12     should be no outburst or any demonstrative reactions to the

   13     jury's verdict, whichever it is.

   14               (Proceedings continued in open court, plaintiff

   15     present; jury present.)

   16               THE COURT:    Okay.    Who is the presiding juror?

   17               FOREPERSON:    (Indicating.)

   18               THE COURT:    Okay.    Mr. Kucera, has the jury reached

   19     a unanimous verdict?

   20               FOREPERSON:    We have, Your Honor.

   21               THE COURT:    And do you have the form?

   22               FOREPERSON:    I do.

   23               THE COURT:    And could you hand it to the marshal,

   24     please.

   25               (Pause.)




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    1               Okay.   I will now publish the jury's verdict.

    2               The jury has reached a verdict and they checked Box

    3     No. 2:    We assess compensatory damages in the following

    4     amount:    $150,000.

    5               The jurors also checked Box No. 3:     We assess

    6     punitive damages, if any, against the following defendants:

    7               Defendant Lucas Nanny in the amount of $75,000;

    8     Defendant Tom Nordman in the amount of $75,000;

    9               Defendant Josh Rackley in the amount of $75,000;

   10               Defendant Terry Stewart in the amount of $75,000.

   11               The total, with compensatory and punitive damages,

   12     is $300,000 dollars.

   13               I will now poll the jurors.

   14               (Whereupon, the jury was polled and the verdict

   15     rendered unanimous.)

   16               THE COURT:   All right.   Ladies and gentlemen of the

   17     jury, you have now completed your service and, on behalf of

   18     the parties and the Court, we thank you for your service.

   19     We do know that jury service is not easy and, as I explained

   20     to you yesterday, it's an inconvenient and may, in some

   21     ways, be an intrusion.    But it is extremely important and we

   22     appreciate the fact that you have been and were committed to

   23     your service and you carried it out.

   24               The marshal will lead you back to the jury room.

   25     Miss Hurst needs to come back and process you out, and then




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    1     we'll get you on your way.

    2               Thank you for your service.

    3               THE CLERK:   All rise for the jury.

    4               (Proceedings continued in open court, plaintiff

    5     present; jury not present.)

    6               THE COURT:   Again, on behalf of the Court, I want to

    7     thank the parties and the attorneys for conducting yourself

    8     in a civil and professional manner, which you all did.         And,

    9     obviously, there are two sides to every case.        But the one

   10     common side is that everybody in the courtroom receives a

   11     fair trial, and is entitled to so, and I hope -- I feel that

   12     this jury was certainly dedicated to that, to that duty.

   13               So, Miss -- we can get -- Miss Hurst is going to go

   14     process the jurors.

   15               Sona, would you -- if anybody wants a copy of the

   16     Verdict Form, we'll have Miss Patel make you a copy.

   17               And again, thanks and good luck to everyone.

   18               Yes, sir, Mr. Spira?

   19               MR. SPIRA:   Judge, I think you may have misspoke on

   20     the overall total.     I just wanted to clarify that for the

   21     record.

   22               THE COURT:   Yeah, I did.   That's $450,000.     Is that

   23     right -- yeah, $75,000 has been assessed in punitive damages

   24     against each defendant.

   25               Mr. Spira, I appreciate you outing my largest




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    1     shortcoming -- well, one of them, anyway -- in front of

    2     everybody which is, I cannot add and subtract.         But that is

    3     450,000.

    4                But the verdict form and, more importantly, the

    5     judgment will bear out the correct amount.        And I apologize

    6     for that.

    7                Thank you.

    8                MR. SPIRA:    Thank you, Judge.

    9                THE CLERK:    All rise.   Court is adjourned.

   10                (Court adjourned at 11:18 a.m.)

   11

   12

   13                             REPORTER'S CERTIFICATE

   14                I, Christine Dohack LaBuwi, RDR, CRR, Official Court

   15     Reporter for the U.S. District Court, Southern District of

   16     Illinois, do hereby certify that I reported with mechanical

   17     stenography the proceedings contained in pages 127-163; and

   18     that the same is a full, true, correct and complete

   19     transcript from the record of proceedings in the

   20     above-entitled matter.

   21

   22                   DATED this 13th day of January, 2020,

   23

   24                              s/Christine Dohack LaBuwi, RDR, CRR
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   25                              Christine Dohack LaBuwi, RDR, CRR




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